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                   LAW OFFICE OF PATRICK J. BRACKLEY

October 16, 2020

Vía ECF
Honorable Laura Taylor Swain
United States District Court Judge
Southern District of New York                              MEMO ENDORSED
500 Pearl Street
New York, New York 10013



              Re: USA vs. Carlos Alvarez 18 Cr 656 (LTS)

Honorable Judge Swain:


As the Court is aware I have been completing the task of Supplementing certain Motions
I filed on behalf of Mr. Alvarez.


This has been particularly challenging due to my clear intent to file meritorious Motions
in keeping with the highest standards. I am requesting one final retroactive request to file
the full set of Motions by close of business on Monday October 19, 2020.


The reason for this request is several fold particularly a new submission I received from
Mr. Alvarez that I believe requires specific attention. I am currently in the District of
Oklahoma on a matter and due to office closures in Manhattan the mail is one week
behind. Nonetheless I have compiled all the recent submissions and will complete this
task by the time I requested.


I have received consent from the Government through AUSA Comey. Thank you.


                          I remain,                       The requested extension is granted. DE#
                                                          119 resolved.
                                                          SO ORDERED.
                          Patrick Jerome Brackley         10/19/2020
                         Attorney at Law                  /s/ Laura Taylor Swain, USDJ
                         233 Broadway Suite 2370
                         New York, New York 10279
                         Office: 212-334-3736
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                  Cell: 917-523-7265
                  Fax: 646-861-6196
